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                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  VICTORIA DIVISION

UNITED STATES OF AMERICA,                        §
                                                 §
        Plaintiff,                               §
                                                 §
             v.                                  §     CRIMINAL NO. 6:10-118-S-1
                                                 §
LORENA MARTINEZ,                                 §
                                                 §
        Defendant.                               §

                             MEMORANDUM OPINION & ORDER

       Pending before the Court is Defendant Lorena Martinez’ (“Martinez”) Motion for

Modification and Reduction of Sentence pursuant to 18 U.S.C. § 3582 (Dkt. No. 328).

       Martinez was sentenced to 42 months in the Bureau of Prisons in 2012 based upon her

conviction for Conspiracy to Transport Unlawful Aliens and Conspiracy to Commit Money

Laundering. (Dkt. No. 280.) Martinez now seeks a reduction in her sentence due to “continuing

program[m]ing” and the fact that she has “tried to cope with [her] incarceration in a positive

way.” (Dkt. No. 328 at 2.)

       It is black-letter law that a federal court generally “may not modify a term of

imprisonment once it has been imposed.” Dillon v. United States, — U.S. —, 130 S.Ct. 2683,

2687 (2010). A district court may resentence a defendant whose conviction has become final

only pursuant to the circumstances set out in 18 U.S.C. § 3582. These circumstances are: (1)

upon a motion for reduction by the Director of the Bureau of Prisons, after review of the relevant

statutory factors, if there are “extraordinary and compelling factors” warranting such a reduction;

(2) to the extent otherwise expressly permitted by statute or Rule 35 of the Federal Rules of

Criminal Procedure; and (3) if the defendant was sentenced based on a sentencing range that has
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subsequently been lowered by the Sentencing Commission and such a reduction would be

consistent with the Commission’s policy statements. 18 U.S.C. § 3582(c); United States v. Ross,

557 F.3d 237, 238 (5th Cir. 2009).

       Because Martinez does not fit within the exceptions provided by § 3582, the Court has no

authority to resentence her under this statute. Accordingly, Martinez’ Motion for Modification

and Reduction of Sentence (Dkt. No. 328) is DENIED.

       It is so ORDERED.

       SIGNED this 20th day of March, 2013.




                                           ____________________________________
                                                      JOHN D. RAINEY
                                                SENIOR U.S. DISTRICT JUDGE
